
MOORE, Judge.
A portion of this court's prior judgment-specifically, this court's holding affirming the Mobile Circuit Court's judgment, *278in part stating: "[W]e are bound to follow University of South Alabama v. Progressive [, 904 So.2d 1242 (Ala. 2004) ], which requires affirmance of the trial court's judgment in this case requiring Alfa [Mutual Insurance Company] to pay the full amount of the hospital lien," Alfa Mut. Ins. Co. v. University of S. Alabama, 243 So.3d 264, 268 (Ala. Civ. App. 2015) -has been reversed, and the cause has been remanded by the Alabama Supreme Court. See Ex parte AlfaMut. Ins. Co., 243 So.3d 271 (Ala. 2017). On remand to this court, and in compliance with the supreme court's opinion, that portion of the judgment entered by the Mobile Circuit Court against Alfa Mutual Insurance Company awarding the University of South Alabama d/b/a University of South Alabama Medical Center Hospital ("South") damages based on the full amount of South's lien is reversed, and the cause is remanded for further proceedings consisted with the supreme court's opinion.
REVERSED AND REMANDED.
Thompson, P.J., and Pittman, Thomas, and Donaldson, JJ., concur.
